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Attorneys for Plaintiff

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                 ) No. 3:19-cr-00114-JMK-MMS
                                            )
                          Plaintiff,        )
                                            )
          vs.                               )
                                            )
  REY JOEL SOTO-LOPEZ,                      )
                                            )
                          Defendant.        )
                                            )

   UNITED STATES’ UNOPPOSED MOTION FOR ADDITIONAL TIME TO
     DETERMINE WITNESS AVAILABILITY FOR FRANKS HEARING

       The United States moves unopposed to continue the deadline for the parties to

notify the Court of a proposed date for a Franks hearing by one week, to February 12,

2021. The Court ordered the parties to meet and confer regarding proposed hearing dates

and notify the Court by February 5, 2020. ECF No. 101. The parties have conferred via

email, however, the undersigned, with the assistance of the case agent from the Bureau of

Alcohol, Tobacco, Firearms, and Explosives, has only reached one of the three Alaska



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State Troopers who would be needed at a Franks hearing: Sergeant Simms. Trevor

Howard, who submitted the affidavit at issue, no longer works for the Troopers, and the

other Trooper who participated in the stop is on leave until this weekend. These

circumstances have delayed contact with these necessary witnesses. The United States

expects to be able to contact Trevor Howard and Trooper King before next Friday, and

therefore requests this extension.

       The undersigned contacted Gary Colbath, attorney for the defendant, by email

regarding this motion. He said that he does not oppose it.

       RESPECTFULLY SUBMITTED February 3, 2021, in Anchorage, Alaska.

                                                BRYAN SCHRODER
                                                United States Attorney

                                                s/ Allison M. O’Leary
                                                ALLISON M. O’LEARY
                                                Assistant U.S. Attorney
                                                United States of America


CERTIFICATE OF SERVICE

I hereby certify that on February 3, 2021, a true and correct copy of the foregoing was
served electronically on the following:

Gary Colbath

s/ Allison M. O’Leary
Office of the U.S. Attorney




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